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          Welcome to Mixtiles! 💖 We're all about turning your favorite photos into beautiful, high-
          quality photo tiles that you can easily hang on your walls. Mixtiles are made using the photos
          right from your camera roll, making it super simple to create a personal gallery of your most
          cherished memories.


          Here’s why you’ll love Mixtiles:


          No Hassle Hanging: Our special adhesive on the back of each tile lets you stick and re-stick
          them on your walls dozens of times without any damage. So, if you’re someone who loves to
          change things up, Mixtiles are perfect for you!


          Customizable Options: You can choose from various borders, frame types, colors, and sizes
          to perfectly match your unique style and space. 🌟 This way, your walls will reflect your
          personality in the best way possible.


          Easy Ordering: You can place your order directly on our website (www.mixtiles.com) or by
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          better feel for what Mixtiles are all about:




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          We can’t wait for you to create your own gallery with Mixtiles! 😊


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